         Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 1 of 27



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK



   Ezekiel Frederick,

                                 Plaintiff,
                                                                                    14-CV-5460 (AJN)
                        -v-
                                                                                   MEMORANDUM
  Capital One Bank (USA), N.A. et al.,                                            OPINION & ORDER

                                 Defendants.



ALISON J. NATHAN, District Judge:

          In 2014,pro se Plaintiff Ezekiel Frederick filed this action asserting thirty-six claims

against myriad Defendants, all stemming from allegedly fraudulent credit reporting practices and

the resulting injury to Plaintiffs credit score. The Court previously granted various motions to

dismiss. See Frederick v. Capital One Bank (USA) NA., No. 14-CV-5460 (AJN), 2015 WL

5521769 (S.D.N.Y. Sept. 17, 2015) [hereafter, "MTD Order"]; Frederick v. Capital One Bank

(USA) NA., No. 14-CV-5460 (AJN), 2015 WL 8484560 (S.D.N.Y. Dec. 8, 2015). As a result,

only two of Plaintiffs causes of action remain.

          The first cause of action is for purported violations of the Fair Credit Reporting Act

("FCRA") by all five remaining Defendants: Capital One Bank USA, N.A. ("Capital One"),

Midland Credit Management, Inc. ("Midland"), Anderson Financial Network Inc. ("Anderson"),

Pinnacle Credit Services, LLC ("Pinnacle") 1, and IC System Inc. The second cause of action is

for an alleged violation of the Fair Debt Collections Practices Act ("FDCP A") by Pinnacle.




          1 Tina   Vincelli, a former associate at Pinnacle's outside counsel, is also a named defendant, as addressed
below.

                                                                  1
       Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 2 of 27



         Each of these Defendants, as well as Plaintiff, now moves this Court for summary

judgment. Plaintiff also moves the Court to strike certain documents or affidavits submitted by

the Defendants as part of their summary judgment practice.

         For the reasons that follow, the Court GRANTS Defendants' motions for summary

judgment and DENIES Plaintiffs motion for summary judgment and motion to strike.

I. Background and Factual Summary

         As the Court stated in its previous order, "Plaintiffs essential allegation is that

Defendants are engaged in a conspiracy to report false information to credit reporting agencies

and threaten him with injury to his credit score if he does not pay allegedly invalid debts." MTD

Order at * 1. He has made similar allegations before. Id. (citing the Plaintiffs prior actions).

         As relevant here, at the motion to dismiss stage the Court held that two of Plaintiffs

claims survived Defendants' motions. First, because Pinnacle and Tina Vincelli did not move to

dismiss Plaintiffs Fair Debt Collection Practices Act claim, it remains. MTD Order at *5, n.3.

Second, the Court held that Plaintiff plausibly stated a claim for relief under section 1681s-2(b)

of the FCRA against Capital One, Pinnacle, Anderson, Midland, and IC System as "furnishers

of information." Id. at *6. 2 Accordingly, the Court only summarizes those facts relevant to the

remaining claims.

         A. Initial Note on the Submissions

         As an initial matter, in light of the unconventional nature of Plaintiffs submissions, the

Court finds it appropriate to define what materials it relied on in considering these motions and

what constitutes a genuine dispute under the law.


         2 Initially the Court also held that Plaintiff had stated a plausible claim for relief under the New York Fair
Debt Collection Practices Act ("NYFDCP A"), id. at *5, however, after controlling case law was brought to the
Court's attention by Defendants' motion to amend the judgment, the Court dismissed the Plaintiffs NYFCDPA
claims as well. See Frederick, 2015 WL 8484560 at *I.

                                                                2
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 3 of 27



        When Defendants' moved for summary judgment, pursuant to Local Civil Rule 56.2,

Plaintiff was provided a notice and a copy of both the Federal Rule of Civil Procedure governing

such motions, and the corresponding Local Rule. See, e.g., Dkt. No. 333. In this notice, Plaintiff

was warned "[i]fyou do not respond to the motion for summary judgment with affidavits and/or

documents contradicting the material facts asserted by the defendant, the Court may accept

defendant's facts as true. Id. at 2. Moreover, Federal Rule 56(e) states that "[i]f a party fails to

properly support an assertion of fact," the court may "consider the fact undisputed for purposes

of the motion." Fed. R. Civ. P. 56(e)(2). Finally, Local Rule 56(d) specifies that "[e]ach

statement by the movant or opponent ... , including each statement controverting any statement of

material fact, must be followed by citation to evidence which would be admissible."

       Plaintiffs many submissions do not comply with these rules. As Plaintiffs opposition to

each Defendant's motion suffers the same deficiencies, the Court will use Plaintiffs opposition

to Midland's motion for summary judgment as an example. Because Plaintiff submitted only a

reply to each Defendant's 56.1 statement of undisputed material facts, albeit with references to

case law, and did not also submit a memorandum oflaw, the Court construes these replies as the

sum of his opposition. See Dkt. Nos. 387-91.

       First, Plaintiff starts by lodging so-called "general objections" focused on his claims that

Midland's assertions are either not supported by a "properly verified and/or previously disclosed

declaration of a qualified and competent declarant(s), based on 'personal knowledge"' or not

supported by "previously disclosed, properly verified and authenticated documents,"

incorporating the arguments he makes in his motion to strike. Dkt. No. 389 at 1-2. As the Court

explains below in its discussion of Plaintiffs motion to strike, his objections are unsupported by

the facts and by the law. As such, Plaintiffs incorporation of his "general objections" in



                                                      3
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 4 of 27



response to each and every statement in Midland's 56.1 statement, does not create a genuine

dispute, and to the extent Defendants' statements are only disputed by reference to "general

objections," the Court will deem them undisputed. See Velez v. SES Operating Corp., No. 07-

CV-10946 (DLC), 2009 WL 3817461, at *1, n.l (S.D.N.Y. Nov. 12, 2009) (defendant's

statements deemed admitted where plaintiffs general objections did not cite to contrary

admissible evidence in the record).

        Second, Plaintiff frequently makes conclusory or vague objections without providing any

citation to evidence. See, e.g., Dkt. No. 389 at 2 (objecting to Defendant's statement as "False,

statement was made pre-CRA discovery" without pointing to specific evidence in the record that

refutes Defendant's statement). The Court will disregard statements in Plaintiffs responses that

are vague, conclusory, inapposite, speculative, argumentative, unsupported, or otherwise

inappropriate for consideration. See Cayemittes v. City ofNY. Dep 't ofHaus. Pres. & Dev., 974

F. Supp. 2d 240, 243 (S.D.N.Y. 2013), ajf'd, 641 F. App'x 60 (2d Cir. 2016) (citing Shortt v.

Congregation KT!, No. 10-CV-2237 (ER), 2013WL142010, at *1 n.2 (S.D.N.Y. Jan. 9, 2013)

("[I]n analyzing the instant motion, the Court has disregarded averments in Plaintiffs 56.1

Response that are ... not supported by citations to admissible evidence in the record ... or that are

improper legal arguments.").

       Third, when Plaintiff does direct the Court to specific evidence, with few exceptions he

points to documents denoted by Bates numbers and not to exhibits that have actually been

provided to the Court. See, e.g., Dkt. No. 389 at 6-7, n.13, 16-20. Because they are not a part of

the record in this case, and because the Court has no means of verifying Plaintiffs citations, the

statements they are intended to support are, in fact, unsupported.




                                                      4
        Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 5 of 27



             In sum, despite these various infirmities, and "acknowledging that the various procedural

rules attendant to opposing summary judgment may be challenging or confusing for a pro se

litigant," the Court has carefully reviewed Plaintiff's submissions and "done its best to separate

the wheat from the chaff." Cayemittes, 974 F. Supp. 2d at 243 (citing Holtz v. Rockefeller & Co.,

258 F.3d 62, 73 (2d Cir. 2001) ("A district court has broad discretion to determine whether to

overlook a party's failure to comply with local court rules.")). As the Second Circuit has noted,

"[ t]he purpose of Local Rule 56.1 is to streamline the consideration of summary judgment

motions by freeing district courts from the need to hunt through voluminous records without

guidance from the parties." Holtz, 258 F.3d at 74. Here Plaintiff has neither guided the Court nor

provided the voluminous records. A plaintiff, even one proceeding prose, cannot avoid

summary judgment by simply relying "conclusory allegations or unsubstantiated speculation."

Posr v. Dolan, No. 02-CV-0659 (LBS), 2003 WL 22203738, at *2 (S.D.N.Y. Sept. 23, 2003)

(citation omitted).

             B. Undisputed Facts

             Having establish the Court's approach to Plaintiff's submissions, the Court now sets forth

those material facts reasonably deemed undisputed.

                    1. Anderson Financial Network

             On April 22, 2013, DirecTV placed for collection by Anderson an account in the name of

Harry Frederick, the brother of Plaintiff Ezekiel Frederick. Defendant Anderson Financial

Network, Inc.'s Local Rule 56.1 Statement of Material Facts ("Anderson 56.1"), Dkt. No. 332,

i!i! 1, 3.   Anderson sent a collection notice to Harry Frederick, who has sworn that he is the "sole

debtor responsible to [Anderson]" for the DirecTV account. Anderson 56.1         i!i! 2, 5.   Plaintiff has




                                                         5
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 6 of 27



sworn that he is "not the debtor or responsible in any manner to [Anderson]" for the account.

Anderson 56.1   if 4.
       Nonetheless, when Anderson received a letter on June 21, 2013 from Plaintiff wherein he

referenced information having been "transmitted to [his] credit bureau," Anderson searched its

records, confirmed it did not have an account related to Plaintiff, and submitted to all three credit

reporting bureaus an Automated Universal Data (AUD) form requesting that the account number

in Plaintiff's letter be deleted. Anderson 56.1      iii! 6-8.   Plaintiff has admitted that Anderson

deleted the information with the respective credit bureaus. Anderson 56.1            if 9. At no point did
Anderson receive an investigation request from any of the credit reporting agencies ("CRAs"),

and Plaintiff has provided no proof that he disputed the credit report entry directly with any

CRA. Anderson 56.1        iii! 10-11.
                2. Midland Credit Management

       There are three Midland accounts at issue in the case, each opened in the name Harry

Frederick. Defendant Midland Credit Management Inc.'s Local Rule 56.1 Statement of Material

Facts ("Midland 56.1 "), Dkt. No. 358, iii! 1-2. Plaintiff does not recall whether he submitted a

dispute to any of the CRAs and does not have copies of any such disputes. Midland 56.1              if 3.
Nonetheless, around July 13, 2013, Midland received a notice of dispute from a CRA concerning

one account. Midland 56.1        if 4. Midland requested deletion of the subject trade-line around July
29, 2013. Midland 56.1       if 5.   When Midland received notices of disputes regarding the other

accounts between June 2013 and January 2014, it again requested deletions of the subject trade-

lines. Midland 56.1     iii! 6-11.   The allegedly incorrect information was removed from Plaintiff's

account. Midland 56.1      if 12.




                                                             6
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 7 of 27



        Plaintiff alleges that he was denied a Discover card in 2014 due to "collections," but

admits that the accounts on his credit report at the time of the alleged denial were not associated

with Midland. Midland 56.1 if 14. He also alleges that the only specific "credit denial" occurred

in 2011, prior to Midland reporting on Plaintiff's accounts. Midland 56.l   if 15.   Plaintiff did not

apply for any mortgages during the time any accounts associated with Midland appeared on his

credit report. Midland 56.1if16.

                3. Pinnacle Credit Services I Tina Vincelli

        On October 7, 2010, Plaintiff signed a contract with Verizon for mobile broadband

service, but he never made a payment to Verizon and his final statement, dated March 13, 2011,

reflects an amount due of $358.97. Statement of Relevant Material Facts ("Pinnacle 56.1 "), Dkt.

No. 339, ifif 1-3. On or about October 23, 2013, Plaintiff mailed a check to Verizon in the

amount of $12.50 stamped with the following instruction on the back of the check:

"ENDORSEMENT BY YOU/AGENT CONSTITUTES AN IRREVOCABLE AGREEMENT

FOR SETTLEMENT I SATISFACTION IN FULL. AUTHORIZATION FOR THE FILING OF

A SATISFACTION AFFIDAVIT AND DIRECTION TO CREDIT BUREAU TO UPDATE

FILE TO PAID AS AGREED." Pinnacle 56.1ifif4-5. Plaintiffbelieved this would be sufficient

to pay off his entire balance with Verizon, a gambit he attempted with at least half a dozen

creditors. Pinnacle 56.1 ifif 6-9.

        At some point, Verizon began reporting Plaintiff's account to the CRAs. Pinnacle 56.l        if
10. Between around June 18, 2013 and June 2, 2014, Plaintiff communicated with the CRAs

concerning his Verizon account, asking them to "verify," "substantiate," or "audit" the reporting

of his Verizon account, without specifying if or how the reporting was incorrect. Pinnacle 56.1




                                                     7
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 8 of 27



iii! 11-12.   None of the communications references his attempt to satisfy his debt. Pinnacle 56.1         if
12.

        In February 2014, Verizon sold Plaintiffs account to Pinnacle, which began reporting his

account to the CRAs around March 29, 2014. Pinnacle 56.1iii!13-14. Between May and August

2014, Plaintiff mailed letters to Pinnacle requesting validation of his account and stating that

there is a "probability" of error, but not specifying the basis for his dispute or mentioning the

check. Pinnacle 56.1if15. On June 18, 2014, Plaintiff filed an action in the Civil Court of the

City of New York against Pinnacle. Pinnacle 56.1if16. On July 24, 2014, Pinnacle requested

that the CRAs delete Pinnacle's trade-line from Plaintiffs credit report. Pinnacle 56.1      ii 17.
        Tina Vincelli is an attorney admitted in Minnesota who worked as an associate at

SeilerSchindel, PLLC, at the time of the relevant events. Pinnacle 56.1 if 18. She has never been

an employee of Pinnacle, but did represent Pinnacle in various matters. Pinnacle 56.1        iii! 19-20.
Vincelli does not regularly collect or attempt to collect debts owed or asserted to be owed to

others. Pinnacle 56.1   ii 22.
        Pinnacle is a passive debt buyer, meaning that it purchases defaulted debt but does not

collect on it; rather, it retains third party firms for the purpose of collection. Pinnacle 56.1 if 23.

Pinnacle's principal purpose is not the collection of debts nor does it regularly collect or attempt

to collect debts owed to others. Pinnacle 56.1   iii! 24-25.
                  4. IC System

        Plaintiff had a mobile phone account with AT&T that was assigned to IC System for

collection from April 2011 to April 2012. Local Rule 56.1 Statement of Material Facts ("I C

System 56.1 "), Dkt. No. 353, iii! 1-2. IC System sent an initial demand letter and request for

payment to Plaintiff on April 27, 2011. IC System 56.1if3. On April 10, 2012, having had no



                                                        8
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 9 of 27



other communication with Plaintiff, IC System sent a second letter advising Plaintiff that his

AT&T account was withdrawn from I C System, and that I C System requested the deletion of

any infonnation it may have provided to the CRAs. IC System 56.1iii!4-5. At his deposition,

Plaintiff testified that he first learned about credit reporting issues in either August or September

or October of2011. IC System 56.1ii9.

       Plaintiff testified that at some time in 2011 or 2012, he sought to participate in a real

estate transaction and collect over $30 million in rental income and was thwarted by negative

information in his credit report. I C System 56.1 iii! 10, 13. However, he also testified that he

was unemployed between 2010 and 2013 and had no stream of income or savings. IC System

56.1 iii! 11-12. Plaintiff acknowledges that he did not apply for any mortgages or lines of credit

in 2011or2012. IC System 56.l i! 15.

       Plaintiff provided no documents in his possession, including the documents he received

in response to subpoenas issued to the CRAs, that show any complaints he directed to IC System

or to the CRAs about his account with IC System. IC System 56.1 iii! 19-22, 24-25.

               5. Capital One

       Plaintiff opened an account with Capital One on June 24, 2007. Capital One Bank (USA),

N.A. 's Statement of Undisputed Material Facts Pursuant to Local Civil Rule 56.1 ("Cap. 56.l "),

Dkt. No. 345, i! 2. By April 2008, Plaintiffs billing statement showed that he had missed six

payments. Cap. 56.1 ii 11. The account balance was charged-off as a loss to Capital One on May

20, 2008 but continued to accrue post-charge off interest. Cap. 56.1iii!12-13. On or around

October 4, 2011, Capital One received a check for $5 from Plaintiff with a stamp on the reverse

side attempting to function as an accord and settlement. Cap. 56.1 iii! 17-21. On or around April

21, 2012, Capital One received a similar check for $10. Cap. 56.l iii! 22-25.



                                                      9
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 10 of 27



        Capital One receives disputes from CRAs via Automated Consumer Dispute Verification

("ACDV") forms. Cap. 56.l ii 28. An ACDV contains a description of the consumer's dispute

and the data currently being reported by the CRAs. Cap. 56.1ii29. In the context of a general

dispute, Capital One will compare its internal data with the data currently being reported by the

CRA, confirm the data as accurate, revise any inaccuracies, and report its results back to the

CRA.Id.

        Between June 2013 and April 2014, Capital One responded to six ACDVs submitted by

CRAs in connection with Plaintiffs account. Cap. 56.l ii 30. In each instance where Capital One

found a discrepancy, Capital One instructed the CRA that its reporting information should be

modified. Cap. 56.1ii33. On June 6, 2014, Capital One received a seventh ACDV and

instructed the CRA to delete the trade line associated with Plaintiffs account. Cap. 56.1 ii 34.

       Plaintiff claims that Capital One's alleged failure to conduct a reasonable investigation

prevented him from entering into contractual obligations with respect to the development of

housing projects during 2011and2012. Cap. 56.1ii49. However, Plaintiff never submitted his

name in connection with any mortgage applications. Cap. 56.l ii 51. Plaintiff has not worked in

the last ten years. Cap. 56.1 ii 45. Plaintiff claims damages totaling over $30 million from lost

rental income and lost mortgage credits anticipated in connection with the rental properties. Cap.

56.1 iiii 59-60. Plaintiff also claims additional damages from three denials of credit he attributes

to Capital One's reporting. Cap. 56. l ii 61. Plaintiff produced a letter from Discovery Bank in

regard to a denial of application Plaintiff made for a credit card, but this purported denial of

credit was issued over a month after Capital One had stopped reporting on Plaintiffs trade-line.

Cap. 56.1 iiii 62, 64. Plaintiff failed to produce any document showing any of his alleged denials

of credit were caused by Capital One's reporting. Cap. 56.l ii 65.



                                                     10
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 11 of 27



II. Defendants' Motions for Summary Judgment

        A. LegalStandard

        Summary judgment shall be granted "if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter oflaw." Fed. R. Civ. P.

56(a). The court must "construe the facts in the light most favorable to the non-moving party

and resolve all ambiguities and draw all reasonable inferences against the movant." Delaney v.

Bank ofAm. Corp., 766 F.3d 163, 167 (2d Cir. 2014) (quotation and alteration omitted). If the

court determines that "the record taken as a whole could not lead a rational trier of fact to find

for the non-moving party, there is no genuine issue for trial" and summary judgment should be

granted to the moving party. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S.

574, 587 (1986) (internal quotation marks and citation omitted).

       It is the initial burden of the movant to present evidence on each material element of its

claim or defense and demonstrate that it is entitled to relief as a matter oflaw. Vt. Teddy Bear

Co. v. 1-800 Beargram Co., 373 F.3d 241, 244 (2d Cir. 2004). However, "[w]hen the burden of

proof at trial would fall on the nonrnoving party, it ordinarily is sufficient for the movant to point

to a lack of evidence ... on an essential element of the nonrnovant's claim." Cordiano v. Metacon

Gun Club, Inc., 575 F.3d 199, 204 (2d Cir. 2009). However, "[t]he mere existence of a scintilla

of evidence in support of the plaintiffs position will be insufficient; there must be evidence on

which the jury could reasonably find for the plaintiff." Anderson v. Liberty Lobby, Inc., 4 77 U.S.

242, 252 (1986).

       As a pro se litigant, Plaintiff is afforded "special solicitude" under Second Circuit law.

See Graham v. Lewinski, 848 F.2d 342, 344 (2d Cir. 1988). A prose plaintiff is entitled to have

his submissions held to "less stringent standards than formal pleadings drafted by lawyers."



                                                     11
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 12 of 27



Haines v. Kerner, 404 U.S. 519, 520-21 (1971). They must be read liberally and interpreted to

"raise the strongest arguments that they suggest," Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir.

1994), however the plaintiff's pro se status does not relieve him of the usual requirements of

summary judgment, specifically the obligation that he come forward with evidence

demonstrating a genuine dispute regarding material fact. See Carey v. Crescenzi, 923 F .2d 18, 21

(2d Cir. 1991); Aziz ZarifShabazz v. Pico, 994 F. Supp. 460, 467 (S.D.N.Y. 1998). Plaintiff was

served by each Defendant with the notice required by Local Rule 56.2, informing him of the

nature of a summary judgment motion and the manner in which it could be opposed, and

warning that failure to respond may lead the court to accept defendants' factual assertions as

true. Dkt. Nos. 333, 340, 343, 352, & 356.

        B. Analysis

               1. Fair Credit Reporting Act (FCRA)

       The FCRA, which "regulates credit reporting procedures to ensure the confidentiality,

accuracy, relevancy, and proper utilization of consumers' information," achieves its aims in part

by imposing "several duties on those who furnish information to consumer reporting agencies."

Longman v. Wachovia Bank, N.A., 702 F.3d 148, 150 (2d Cir. 2012) (citing 15 U.S.C. § 1681s-

2).

       Section 1681s-2(b) specifically imposes certain procedural obligations on furnishers

"[a]fter receiving notice ... of a dispute with regard to the completeness or accuracy of any

information ... [from] a consumer reporting agency."§ 1681s-2(b)(l). After receiving notice, a

furnisher shall: (1) "conduct an investigation with respect to the disputed information;" (2)

"review all relevant infonnation provided hy the consumer reporting agency ... ;" (3) "report the

results of the investigation to the consumer reporting agency;" (4) where an "investigation finds



                                                    12
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 13 of 27



that the information is incomplete or inaccurate, report those results to all other consumer

reporting agencies to which the person furnished the information ... ;" and (5) where the

information is found to be inaccurate, incomplete, or unverifiable, promptly modify, delete, or

permanently block the reporting of that information. 15 U.S.C. §§ 1681s-2(b)(l)(A)-(E).

       Although the Second Circuit has not directly addressed the issue, the majority of courts to

address whether a private right of action exists under § 1681 s-2(b) have recognized one. See

Nguyen v. Ridgewood Sav. Bank, 66 F. Supp. 3d 299, 305 (E.D.N.Y. 2014) (collecting cases). In

order to state a claim under§ 1681s-2(b), a plaintiff must show that the defendant is a "furnisher

of information" within the meaning of the statute, that "the furnisher of information received

notice of the consumer dispute from a [CRA]," and that the furnisher acted in "willful or

negligent noncompliance" with the statute. Neblett v. Chase Bank, No. 09-CV-10574

(DAB)(GWG), 2010 WL 3766762, at *5 (S.D.N.Y. Sept. 27, 2010); Redhead v. Winston &

Winston, PC, No. 01-CV-11475 (DLC), 2002 WL 31106934, at *5 (S.D.N.Y. Sept. 20, 2002).

Only if a furnisher of information received notice of a dispute from the CRA, rather than solely

from the consumer directly, does a private right of action exist. See Neblett, 2010 WL 3766762,

at *5; Fashakin v. Nextel Commc'ns, No. 05-CV-3080 (SLT), 2006 WL 1875341, at *5

(E.D.N.Y. July 5, 2006).

       Even though the specific provision at issue here does not specify what type of

investigation must take place, and the Second Circuit has yet to determine the governing

standard, other circuit and district courts have assumed that it must be "reasonable." See, e.g.,

SimmsParris v. Countrywide Fin. Corp., 652 F.3d 355, 359 (3d Cir. 2011); Gorman v. Wolpojf &

Abramson, LLP, 584 F.3d 1147, 1157 (9th Cir. 2009); Westra v. Credit Control of Pinellas, 409

F.3d 825, 827 (7th Cir. 2005); Johnson v. MBNA Am. Bank, NA, 357 F.3d 426, 432 (4th Cir.



                                                    13
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 14 of 27



2004); Jenkins v. Capital One, NA., No. 14-CV-5683 (SJF), 2017 WL 1323812, at *5 (E.D.N.Y.

Feb. 28, 2017); Okocha v. HSBC Bank USA, NA., 700 F. Supp. 2d 369, 374 (S.D.N.Y. 2010).

The FRCA was enacted "to require that [CRAs] adopt reasonable procedures for meeting the

needs of commerce for consumer credit ... in a manner which is fair and equitable to the

consumer." 15 U.S.C. § 1681(b). Accordingly, one of the core ways in which a plaintiff may

establish "willful or negligent noncompliance" with the statute, is to show that the furnisher

failed to reasonably investigate the plaintiff's dispute. See Amendoeira v. Monogram Credit

Card Bank of Georgia, No. 05-CV-4588, 2007 WL 2325080, at *1 (E.D.N.Y. Aug. 7, 2007);

accord Okocha, 700 F. Supp. 2d at 374. What constitutes "reasonableness" is viewed "in light of

what [the furnisher] learned about the nature of the dispute from the description in the CRA's

notice of dispute." Gorman, 584 F.3d at 1157.

       Finally, even ifthe Court were to find that one or more Defendants violated§ 1681s-2(b),

"summary judgment is still appropriate if no reasonable factfinder could find that Plaintiff is

entitled to damages under the FCRA." Trikas v. Universal Card Servs. Corp., 351 F. Supp. 2d

37, 44 (E.D.N.Y. 2005). First, while it may be self-evident, if Plaintiff cannot show that any of

the information was inaccurate, there is no harm. See, e.g., Mortimer v. Bank ofAm., NA., No.

12-CV-1959 (JCS), 2013 WL 57856, at *8-9 (N.D. Cal. Jan. 3, 2013) (finding that plaintiff's

FCRA claim fails because defendant reported accurate information). Second, assuming the

information was inaccurate, to recover actual damages a plaintiff must establish a "causal

relationship between the violation of the statute and the loss of credit or other harm." Burns v.

Bank ofAm., 655 F. Supp. 2d 240, 250 (S.D.N.Y. 2008) (internal quotations and citation

omitted).




                                                     14
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 15 of 27



        The Defendants make several arguments in favor of their respective motions for summary

judgment. The Court addresses three of the core arguments, each of which is sufficient to

warrant summary judgment for some or all Defendants.

                       a) Plaintiff Fails to Establish That He Submitted Any Disputes with a
                          CRA Regarding Defendants I C System and Anderson
        As stated above, to state a valid claim against a furnisher under§ 1681s-2(b), Plaintiff

must show that he disputed the information with a CRA directly that, in tum, notified the

furnisher of the dispute. See, e.g., Kane v. Gaur. Residential Lending, No. 04-CV-4847 (ERK),

2005 WL 1153623, at *4-5 (E.D.N.Y. May 16, 2005); Redhead, 2002 WL 31106934, at *5.

        Defendant IC System includes in its statement of undisputed material facts that Plaintiff

concedes that he has no documents in his possession evidencing that he had ever filed any

complaints with any credit reporting bureau relating to his account serviced by IC System. See I

C System 56.l   iii! 19, 20, 21, 25 (citing Declaration of Concepcion A. Montoya, Ex. A, at
528:19-23, 532:6-24, 557:2-14; Ex. F). In opposing this motion, Plaintiff only lodges his so-

called "general objections" against these statements - which, as explained above, are insufficient

- plus an unsupported claim that the Experian report contains an I C System entry. Dkt. No. 390

at 5-6. As a result, since it is undisputed that Plaintiff has presented no evidence to suggest that

he lodged a complaint with a CRA about IC System in particular, IC System's duty to

investigate any claims concerning its reporting on Plaintiffs account was never triggered, and

Plaintiff fails to establish his FCRA claim. The Court grants summary judgment to I C System

on Plaintiffs FCRA claim.

       Similarly, Anderson notes that Plaintiff never lodged a dispute with a CRA regarding an

item on his credit report related to Anderson, thus vitiating any duty it had to investigate. See

Memorandum of Law in Support of Anderson's Motion for Summary Judgment ("Anderson


                                                     15
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 16 of 27



Mem."), Dkt. No. 329, at 7-8. Anderson asserts that they did not receive an investigation request

from any CRA. Anderson 56.1if10. Despite his lengthy objection to Anderson's statement of

facts, at no point does Plaintiff point to evidence suggesting that Anderson's contentions - that it

never received a request from a CRA but nevertheless contacted the CRAs to delete the account

number in Plaintiffs letter to Anderson "in order to placate Mr. Frederick's concern," see

Declaration of Alicia McKeighan, Dkt. No. 331, iii! 11-12-were subject to genuine dispute. See

generally Dkt. No. 387 at 2-10. Accordingly, if Anderson never received a request to investigate

from a CRA, its duty to investigate was never triggered and Plaintiffs FCRA claim against

Anderson fails as a matter oflaw. Kane, 2005 WL 1153623, at *5.

                          b) Plaintiff Fails to Establish That Midland and Capital One Failed
                             to Conduct Reasonable Investigations
        Defendants Midland and Capital One make the argument that Plaintiff has failed to

establish that their investigations of his dispute were not reasonable.

        Midland argues that undisputed evidence shows that it conducted a reasonable

investigation of each of the disputed accounts and promptly requested their removal from

Plaintiffs credit report. Memorandum of Law in Support of Midland's Motion for Summary

Judgment ("Midland Mem."), Dkt. No. 357, at 9-10 (citing Midland 56.1iii!4-11). Specifically,

Midland claims that it received notice of a dispute from a CRA concerning one account on July

13, 2013 and requested deletion of the subject trade-line on July 29, 2013. Midland 56.1iii!4-5.

On June 13, 2013 and July 4, 2013, Midland received notice of a dispute from a CRA concerning

a second account; Midland requested deletion of the subject trade-line by August 19, 2013.

Midland 56.1 iii! 6, 8.

        In additional to his "general objections," which, as stated above, are insufficient to raise a

genuine issue here, Plaintiff makes a number of conclusory and unsupported arguments about the


                                                      16
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 17 of 27



unreasonableness and cursory nature of Midland's investigation. See Dkt. No. 389 at 5-11. First,

Plaintiff argues that Midland acted unreasonably in relying on computer data instead of

reviewing the underlying documents. Dkt. 389 at 4-5, 8. But even assuming this is true, Midland

did request deletion of the trade-lines based on this investigation, unlike the defendant in

Johnson v. MBNA Am. Bank, NA., the case upon which Plaintiff relies. See id. at 4 n.5 (citing

357 F.3d 426 (4th Cir. 2004)). Plaintiff offers no reason to believe that Midland's investigation

was inadequate in this regard. Second, Plaintiff argues that letters providing additional

information about his disputes "triggered the requirement for Defendants to implement

additional investigative procedures or inquiries." Id. at 8. Plaintiff does not specify what these

would be, nor does he offer any basis in the FCRA or case law for this unspecified obligation.

"[A]lthough 'reasonableness' is generally a question for a finder of fact, summary judgment in

this case [is] appropriate." Gorman, 584 F.3d at 1161. Thus, because no reasonable factfinder

could conclude that Plaintiff can establish that Midland did not reasonably investigate his

disputes, his FCRA claim fails as a matter of law. 3

         Capital One makes a similar, and similarly meritorious, argument about Plaintiff's failure

to show its investigations were not reasonable. Memorandum of Law in Support of Capital One's

Motion for Summary Judgment ("Cap. Mem."), Dkt. No. 344, at 13-16. Per the undisputed

facts, between June 2013 and April 2014, Capital One responded to six ACDV requests

submitted by CR.As in connection with Plaintiff's account. Cap. 56.1if30. When responding to

an ACDV, ifthere is a general dispute without any specific information, Capital One will

compare its internal data with the data reported by the CRA, revise any inaccuracies as


         3
          Plaintiff also references two additional disputed accounts beyond those Midland discusses in its
submissions, see Dkt. No. 389 at 2, 6, but Plaintiff only makes allegations with respect to three accounts in the
operative Second Amended Complaint, see Second Amended Complaint, Dkt. No. 22, i! 60, and cites no
documentary evidence to support his claims with respect to these additional accounts.

                                                               17
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 18 of 27



necessary, and report its results back to the CRA. Cap. 56.l   if 29. In each instance in which
Capital One had different information in its account from that submitted by the CRA, Capital

One instructed the CRA to modify its reporting information in accordance with the account

information provided by Capital One. Cap. 56.l     if 33. Upon receiving a seventh ACDV on June
6, 2014, Capital One requested that the CRA delete the trade-line associated with Plaintiffs

account three days later. Cap. 56.1   if 34.
        Assuming arguendo that Capital One had reported inaccurate information, Capital One

argues that by confirming that the information within its files was consistent with what the CRA

reported in the ACDV, its investigation was reasonable as a matter oflaw. Cap. Mem. at 14

(citing Ritchie v. N Leasing Sys., Inc., No. 12-CV-4992 (KBF), 2016 WL 1241531, at *17

(S.D.N.Y. Mar. 28, 2016) (holding that defendants met their obligation under§ 1681s-2(b) when

they confirmed the facts in the ACDV) and Llewelyn v. Asset Acceptance, LLC, No. 14-CV-411

(NSR), 2015 WL 6503893, at *8 (S.D.N.Y. Oct. 26, 2015) (holding defendant's investigation

reasonable for reviewing all its records and those provided to it in order to confirm the reported

information matched its internal records), aff'd 669 F. App'x 66 (2d Cir. 2016)).

       To the best of this Court's ability to comprehend Plaintiffs arguments in response, he

appears to make four core arguments in response to Capital One's factual assertions. First,

Plaintiff asserts that he never applied to be a credit cardholder in the first instance and so is not

responsible for any related debt. See Dkt. No. 391 at 2-3. As Capital One notes, this argument,

to the extent it has any merit, cannot be raised for the first time in opposition to summary

judgment. Capital One Bank (USA), N.A.'s Reply Memorandum of Law in Support of Its

Motion for Summary Judgment ("Cap. Reply"), Dkt. No. 397, at 3 (citing Wright v. Jewish Child

Care Ass'n ofNY., 68 F. Supp. 3d 520, 529 (S.D.N.Y. 2014)). Second, Plaintiff suggests that



                                                      18
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 19 of 27



there were more ACDV disputes than are accounted for by Capital One in its explanation of its

investigations. See Dkt. No. 391 at 8. Plaintiff lists various Bates numbers in the footnotes, but

the Court has no way of verifying his assertion. Capital One does concede that there were

thirteen ACDVs, but notes that six of the thirteen fall outside the two-year statute oflimitations

as provided for in § 1681 p. Cap. Reply at 4-6. Plaintiff references a "continuing violation

theory" in support of his argument that these disputes were not time-barred, but fails to offer any

authorities supporting this tolling theory. See Dkt. No. 391 at 10. Third, Plaintiff argues that two

checks he sent, for $5 and $10 respectively, as part of an attempt to achieve accord and

satisfaction, were not included in the credit report updates, but he offers no citation to evidence

that would create a genuine dispute of material fact. Id. at 9. Fourth and finally, Plaintiff repeats

many of the exact same arguments he made with respect to Midland. See id. at 10-24. Nothing in

the record suggests that these arguments should prevail against Capital One having been rejected

above.

         In sum, because Plaintiff fails to point to any specific dispute mentioned within the

ACDV that would have triggered some obligation to conduct a more thorough investigation than

that which Capital One conducted, his claim fails as a matter oflaw. See Jenkins v. LVNV

Funding, LLC, No. 14-CV-5682 (SJF), 2017 WL 1323800, at *11-12 (E.D.N.Y. Feb. 28, 2017);

Ritchie, 2016 WL 1241531, at *17; Llewellyn, 2015 WL 6503893, at *8.

                        c) Plaintiff Fails to Show Willfulness or Plausible Actual Damages

         All five Defendants are entitled to summary judgment because "no reasonable factfinder

could find that Plaintiff is entitled to damages under the FCRA." Jenkins v. AmeriCredit Fin.

Servs., Inc., No. 14-CV-5687 (SFJ), 2017 WL 1325369, at *7 (E.D.N.Y. Feb. 14, 2017) (quoting

Trikas, 351 F. Supp. 2d at 44). To prevail on a claim under the FCRA, the plaintiff"must prove



                                                     19
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 20 of 27



that inaccurate information in a credit report caused him harm." Podell v. Citicorp Diners Club,

Inc., 914 F. Supp. 1025, 1036 (S.D.N.Y. 1996).

         Under§ 1681n, a Defendant who willfully violates the FCRA is liable for "any actual

damages sustained by the consumer as a result of the failure or damages of not less than $100

and not more than $1,000," punitive damages, and attorneys' fees. 4 15 U.S.C. § 1681n(a); see

also Ritchie, 14 F. Supp. 3d at 239 ("[A] plaintiff may recover actual, statutory, and punitive

damages for a willful violation of the FCRA ... "). By contrast, pursuant to§ 16810, negligent

violations of the FCRA entitle a plaintiff to collect actual damages, but not punitive damages.

See 15 U.S.C. § 16810; Trikas, 351 F. Supp. 2d at 45.

         Plaintiff "bear[ s] the burden of demonstrating the existence of a material factual dispute

as to the existence of damages." Burns, 655 F. Supp. 2d at 250 (internal quotation marks and

citation omitted). Plaintiff has not provided sufficient evidence that any FCRA violation was

willful, precluding the recovery of punitive damages, and cannot plausibly show that he has

suffered actual damages. The Court addresses these deficiencies in turn.

                                    i) Plaintiff Cannot Establish a Willful Violation

         To establish a willful violation of the FCRA, the plaintiff "must show that a defendant

knowingly and intentionally committed an act in conscious disregard for the rights of others, but

need not show malice or evil motive." Northrop v. Hoffman ofSimsbury, Inc., 12 F. App'x 44,

50 (2d Cir. 2001) (internal quotation marks and citation omitted). Willfulness is established

where the defendant "intentionally misled consumers or concealed information from them."

George v. Equifax Mortg. Servs., No. 06-CV-971 (DLI), 2010 WL 3937308, at *2 (E.D.N.Y.




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          Of course, as Plaintiff here proceeds pro se, he is not entitled to attorney's fees. See Hawkins v. 1115
Legal Serv. Care, 163 F.3d 684, 694-95 (2d Cir. 1998).

                                                              20
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 21 of 27



Oct. 5, 2010) (internal quotation marks and citation omitted). "[T]he mere failure to correct a

plaintiff's inaccurate credit information, even after notification of the inaccuracy does not

constitute a willful failure to comply with the FCRA." Id. (emphasis in original).

        At various points in his opposition to summary judgment, Plaintiff alleges that the

Defendants are responsible for "fraudulent concealment," and "intentionally committed acts in

conscious disregard for Plaintiff's rights" by knowingly re-reporting the "patently false"

accountholder information as Herman E. Frederick with a billing address in Tobyhanna, PA. See

Dkt. No. 389 at 6-7; see also Dkt. No. 391 at 23 (alleging that Capital One "fraudulently altered"

the A CD Vs to conceal the substance of Plaintiff's disputes); Dkt. No. 388 at 19 (alleging that

Pinnacle had a "deceptive scheme").

        Nonetheless, even assuming that each Defendant violated the FCRA, Plaintiff fails to

provide evidence beyond his own hyperbole that any Defendant intentionally failed to correct

information it knew to be false. To the contrary, it is undisputed that Anderson, Capital One, and

Midland deleted the disputed information from his credit report. See Anderson Mem. at 9-10

(citing Declaration of Aaron R. Easley, Dkt. No. 330, Ex. A at 63:14-16); Cap. 56.1if34;

Midland 56.1if12. And beyond Plaintiff's conclusory statements, he furnishes no evidence that

any of the Defendants either intentionally misled him or acted in reckless disregard. While

Plaintiff argues that his opposition demonstrates a genuine issue of material fact, as the Second

Circuit has stated: "The summary judgment rule would be rendered sterile ... if the mere

incantation of intent or state of mind would operate as a talisman to defeat an otherwise valid

motion." Meiri v. Dacon, 759 F.2d 989, 998 (2d Cir. 1985). Plaintiff does not carry his burden

to establish willfulness as a matter oflaw, and is not entitled to recover statutory or punitive

damages pursuant to§ 1681n.



                                                     21
    Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 22 of 27



                               ii) Plaintiff Cannot Establish Actual Damages

        Assuming that any of the Defendants had committed an FCRA violation, Plaintiff's

claims also fail as a matter of law because he is unable to establish actual damages. See Spector

v. Experian Info. Servs. Inc., 321 F. Supp. 2d 348, 356 (D. Conn. 2004) ("In order to survive a

summary judgment motion on a claim of negligent violation of the FCRA, a plaintiff must

provide some evidence from which a reasonable fact-finder could conclude that [he] suffered

actual damages as a result of defendant's actions."). To recover actual damages a plaintiff must

establish a "causal relationship between the violation of the statute and the loss of credit or other

harm." Burns, 655 F. Supp. 2d at 250. That is, Plaintiff "must establish actual damages

attributable to defendants' unreasonable investigation," Okocha v. HSBC Bank USA, NA., No.

08-CV-8650 (MHP), 2010 WL 5122614, at *5 (S.D.N.Y. Dec. 14, 2010), any "any harm must be

traceable to the inaccurate, FCRA-violating information- not just to the report that contained

that information or to accurate data within the same report." Wenning v. On-Site Manager, Inc.,

No. 14-CV-9693 (PAE), 2016 WL 3538379, at *23 (S.D.N.Y. June 22, 2016).

       Actual damages under the FCRA "may include a denial of credit, as well as 'humiliation

and mental distress, even in the absence of out-of-pocket expenses .... "' Jenkins v. Chase Bank

USA, NA., No. 14-CV-5685 (SJF), 2015 WL 4988103, at *8 (E.D.N.Y. Aug. 19, 2015) (quoting

Casella v. Equifax Credit Info. Servs., 56 F.3d 469, 474 (2d Cir. 1995)). A plaintiff claiming

actual damages in the form of emotion distress "must demonstrate [that he] suffered an 'actual

injury"' and "generally cannot stand on [his] subjective testimony alone, but must set forth 'other

evidence that such an injury occurred.'" Caltabiano v. BSB Bank & Tr. Co., 387 F. Supp. 2d 135,

142 (E.D.N.Y. 2005) (quoting Patrolmen 's Benevolent Ass'n ofNY v. City ofNew York, 310

F.3d 43, 44 (2d Cir. 2002)).



                                                     22
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 23 of 27



           At various places in his Second Amended Complaint, Plaintiff lodges general allegations

that inaccuracies in his credit reports caused him "to default on a mortgage contingent contract"

on a property in Brooklyn, to fail to qualify for a mortgage and "repeated consumer credit

denials," to prevent his "professional appointment by an insurance carrier to sell life insurance

and annuities," and caused his creditors to "either raise the rate of interest charged, reduce lines

of credit, close credit card accounts, [or] deny new extensions of credit." Second Amended

Complaint, Dkt. No. 22, ifil 48, 55, 57, 61, 63. Now, after the close of discovery, Plaintiff has

failed to substantiate his claim that any of these alleged injuries occurred because of Defendants'

actions.

       For example, Plaintiff testified that he never pursued any opportunities in the time period

during which Midland appeared in his credit report. Midland 56.1     if 16; see also Dkt. No. 397 at
10 (demonstrating that Plaintiffs alleged damages predate Capital One's ACDV responses);

Cadet v. Equ(fax Credit Servs., No. 05-CV-4843 (SLT), 2008 WL 189873, at *7 (E.D.N.Y. Jan.

18, 2008) (holding that the plaintiff failed to establish actual damages where credit denials did

not occur between the date the CRA was informed of an inaccuracy and the date on which the

CRA updated its records). Plaintiff also testified that he never submitted any loan applications,

explaining, "why would I go on the mortgage application knowing that I was going to get denied

because I did not meet the criteria?" Cap. Mem. at 19. He claims that he lost out on the

opportunity to collect over $30 million dollars in rental income, but never applied for was never

denied a mortgage, and has been unemployed since 2000. Memorandum of Law in Support ofl

C System's Motion for Summary Judgment, Dkt. No. 351, at 14. Plaintiff does offer a purported

2014 letter from Discovery Bank in regards to a denial of a credit card application, but he offers

no evidence connecting that denial to any of the alleged inaccuracies. See Cap. Mem. at 21.



                                                     23
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 24 of 27



        Ultimately, Plaintiffs reliance on "lost opportunities" is too speculative. See Casella, 56

F.3d at 475. As there is no evidence that Plaintiff was denied credit or opportunities as a result

of Defendants' failures to conduct reasonable investigations or report alleged inaccuracies, he

fails to establish he suffered actual damages. See Wenning, 2016 WL 3538379, at *23; Okocha,

2010 WL 5122614, at *6.

        Plaintiff alternatively attempts to establish actual damages in the form of emotion

distress, attaching a doctor's note as part of his "supplemental declaration." See Dkt. No. 392.

The document does not establish a causal connection and merely states that Plaintiff was under

the care of a physician. See Caltabiano, 387 F. Supp. 2d at 142 (holding that the plaintiff failed

to establish actual damages where he did not "provide[ ] any psychiatric or medical records to

support that he has suffered emotional damages as a result of the Defendants' actions").

Plaintiffs own testimony of humiliation and emotional distress "is insufficient to create a triable

issue of fact as to the existence and amount of any alleged damages." See Burns, 655 F. Supp. 2d

at 258, n.15.

       As a result of Plaintiffs failure to establish damages as a matter oflaw, the Court grants

summary judgment to all Defendants.

                2. Fair Debt Collection Practices Act (FDCPA)

       As the Court previously noted, the FDCP A governs only debt collectors; "creditors are

not subject to the FDCP A." MTD Order at *5 (quoting Maguire v. Citicorp Retail Servs., Inc.,

147 F.3d 232, 235 (2d Cir. 1998)). The FDCPA defines a "debt collector" as:

       [A]ny person who uses any instrumentality of interstate commerce or the mails in
       any business the principal purpose of which is the collection of any debts, or who
       regularly collects or attempts to collect, directly or indirectly, debts owed or due
       or asserted to be owed or due another.

15 U.S.C. § 1692a(6).


                                                    24
      Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 25 of 27



         Pinnacle claims that it does not meet this definition because it is a passive debt buyer,

purchasing defaulted debt but taking no direct action to collect on it. Dkt. No. 335 at 17 (citing

Declaration of Robert Castle, Dkt. No. 336, ii 8). Pinnacle retains third party firms for the

purpose of collection. Id. Rather, Pinnacle asserts that it is a creditor, because it purchased

defaulted debt for its own purposes, and is "to whom a debt is owed," as stated in§ 1692a(4).

The Supreme Court recently affirmed that debt buyers are not debt collectors. See Henson v.

Santander Consumer USA Inc., 137 S. Ct. 1718, 1721-22 (2017).

         Plaintiff disputes Pinnacle's self-characterization, but offers no legal support for his

dispute. Dkt. No. 388 at 23. He also asserts that Pinnacle waived this argument by not raising it

during its motion to dismiss, id., but offers no legal basis for this assertion.

         Ultimately, "[i]n order to sustain a claim under the FDCPA, [plaintiff] must plead facts

showing that [defendant] is either a debt collector or a creditor that attempted to collect on its

debts by using a false name." Briggs v. Wells Fargo Bank, NA., No. 14-CV-1759 (RRM), 2015

WL 1014184, at *5 (E.D.N.Y. Mar. 6, 2015). Plaintiff has failed to do so, and Pinnacle is

entitled to summary judgment as a matter oflaw. 5

III. Plaintiff's Motions

         A. Plaintiff's Motions to Strike

         On September 13, 2017, Plaintiff filed five documents - one for each Defendant- styled

as declarations in support of a motion to "strike/preclude undisclosed witnesses, unverified

declarations, as well as, undisclosed and unverified documents, deposition testimony, answers

and affirmative defenses, pursuant to Rule 26(a), (c)(l), (e), Rule 26(g)(l) and (g)(3), Rule


         5
            Defendant Tina Vincelli, formerly an associate of Pinnacle's outside counsel and not an employee of
Pinnacle, also does not count as a debt collector under the FDCP A because her principal business does not involve
the collection of debts. Vincelli is also entitled to summary judgment.



                                                             25
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 26 of 27



37(c)(l) and (d)(l), as well as, Rule 1 l(a), Rule 12(f), and Rule 56(c)(4), and to "strike/preclude

documents pursuant to Rule 803(6), 807, Rule 901, Rule 1002 and Rule 1006." Dkt. No. 372

(with respect to Capital One); see also Dkt. No. 373 (same with respect to Midland); Dkt. No.

374 (same with respect to Anderson); Dkt. No. 375 (same with respect to IC System); Dkt. No.

376 (same with respect to Pinnacle/Vincelli). Essentially, Plaintiff's argument is that the

Defendants' various declarants cannot properly "lay the foundation for the admission of hearsay

documents," see, e.g., Dkt. No. 373 at 2, that their verifications fail to meet the "personal

knowledge" requirements in the Federal Rules, id., that the declarations are impermissible

because the declarants were not "previously disclosed/identified by name," id. at 3, or that

deposition transcripts attached as exhibits to the declarations were not authenticated. See id. at 4.

In each case, Plaintiff's objections are unfounded.

       To begin with, as Defendants note, Rule 12(f) only allows the Court to strike pleadings,

not materials submitted in connection with a motion. See Granger v. Gill Abstract Corp., 566 F.

Supp. 2d 323, 334-35 (S.D.N.Y. 2008). Nonetheless, because Plaintiff proceeds prose, the

Court will construe his motion as part of his opposition to summary judgment and consider his

arguments.

       The Court need not dwell on the specifics of each of Plaintiff's numerous objections;

upon review, all Defendants submitted declarations that comport with the standard set by 28

U.S.C. § 1746(a) and Federal Rule of Civil Procedure 56(c)(4). Each declarant executed their

declaration under penalty of perjury. Each declarant states that he or she has personal knowledge

of the submitted business records. And each declarant was either previously disclosed or cannot

credibly be said to present the specter of "sandbagging" Plaintiff such that his or her testimony

would be precluded under Rule 37(c). In short, for the reasons stated in Defendants' memoranda



                                                      26
     Case 1:14-cv-05460-AJN-GWG Document 427 Filed 03/27/18 Page 27 of 27



oflaw, Plaintiffs arguments fail. See Dkt. No. 378 at 4-10 (Capital One); Dkt. No. 407 at 2-4

(Midland); Dkt. No. 405 at 2-5 (PinnacleNincelli); Dkt. No. 395 at 2-3 (Anderson); Dkt. No.

394 at 2-3 (IC System).

       B. Plaintiff's Motion for Summary Judgment

       Upon the Court's review of Plaintiffs motion for summary judgment, see Dkt. No. 365,

the Court can find no relevant argument Plaintiff makes that was not also asserted in opposition

to Defendants' motions for summary judgment. Consequently, for many of the same reasons

stated above for why the Defendants are entitled to summary judgment, Plaintiff is not.

IV. Conclusion

       For the foregoing reasons, the Court GRANTS summary judgment to all Defendants and

DENIES summary judgment to the Plaintiff. The Court also DENIES Plaintiffs motion to strike

or preclude. The Clerk of Court is respectfully directed to close the case and enter judgment. A

copy of this Order will be mailed to the prose Plaintiff by Chambers.

       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from this order would

not be taken in good faith, and therefore in forma pauperis status is denied for the purpose of an

appeal. See Coppedge v. United States, 369 U.S. 438, 444-45 (1962).

       SO ORDERED.



 Dated: March        , 2018
        New York, New York


                                                           United States District Judge




                                                    27
